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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

VICTOR B. PERKINS, et al.,               )
                                         )
             Plaintiffs,                 )
                                         )
      v.                                 )      Civ. No. 20-1200-RGA
                                         )
PROCTOR AND GAMBLE                       )
PHARMACEUTICAL COMPANY,                  )
et al.,                                  )
                                         )
             Defendants.                 )


                                        ORDER

             At Wilmington this         day of September, 2020,

the Court having considered the application to proceed in District Court without

prepaying fees or costs under 28 U.S.C. § 1915;

      IT IS ORDERED that the application is GRANTED.



DATED:
                                         UNITED STATES DISTRICT JUDGE
